              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT

                        DOUGLAS ROBERT DOAN,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2023-0678


                              August 21, 2024

Appeal from the Circuit Court for Pinellas County; Chris Helinger, Judge.

Howard L. Dimmig, II, Public Defender, and Lee Adam Cohen, Special
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Jonathan P. Hurley,
Senior Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

KELLY, ROTHSTEIN-YOUAKIM, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
